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 5
                        IN THE UNITED STATES DISTRICT COURT
 6                          FOR THE DISTRICT OF ARIZONA
 7
     United States,
 8         Plaintiff,                           Case No. CR-18-422-DJH
 9
           v.                                       ORDER
10

11   Joye Vaught,
12
           Defendant.

13

14

15         Upon Motion of the Defendant, with good cause appearing,
16
           IT IS ORDERED granting Defendant Joye Vaught leave to appear by
17
     [phone/videoconferencing] at the August 4, 2023 hearing in this matter. Details
18

19   for the remote appearance will be emailed to Ms. Vaught’s counsel, Joy Bertrand.
20
           SO ORDERED this _______ day of ___________, 2023.
21

22                                        ______________________
23
                                          United States District Judge
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